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UNITED STATES DISTRICT COURT RY

MIDDLE DISTRICT OF LOUISIANA on

CHRISTOPHER SEAN RICHARDSON CIVIL ACTION ae

VERSUS
NO. 07-191-RET

JWM FINANCIAL CONSULTANTS, INC.

JUDGMENT
For the oral reasons assigned and filed herein:
IT IS ORDERED ADJUDGED AND DECREED that the motion to dismiss filed by
defendant, JWM Financial Consultants, Inc. is granted and this matter is dismissed.
All other pending motions in this action are hereby dismissed, as moot.

Baton Rouge, Louisiana, December ly , 2008.

 

MIDDLE DISTRICT OF LOUISIANA

 
